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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN



 UNITED STATES OF AMERICA,

         Plaintiff,
 v.                                                                   Hon. Paul L. Maloney

 LORENZO SARCO-SANCHEZ,                                               Case No. 1:20-cr-00106

         Defendant.
 ________________________________/

                              REPORT AND RECOMMENDATION

        Pursuant to W.D. Mich. LCrR. 11.1, I conducted a plea hearing in the captioned case on

September 18, 2020, after receiving the written consent of defendant and all counsel. There is no

written plea agreement. At the hearing, defendant LORENZO SARCO-SANCHEZ entered a plea

of guilty to the Indictment charging defendant with being an alien who had previously been

removed after having been convicted of a felony offense, found in the United States without having

obtained the express prior consent of the Attorney General or the Secretary of Homeland Security

to return or reapply for admission, in violation of 8 U.S.C. §§ 1326(a) and 1326(b)(1). On the basis

of the record made at the hearing, I find that defendant is fully capable and competent to enter an

informed plea; that the plea is made knowingly and with full understanding of each of the rights

waived by defendant; that it is made voluntarily and free from any force, threats, or promises; that

the defendant understands the nature of the charge and penalties provided by law; and that the plea

has a sufficient basis in fact.

        I therefore recommend that defendant's plea of guilty to the Indictment be accepted and

that the court adjudicate defendant guilty. Acceptance of the plea, adjudication of guilt, and

imposition of sentence are specifically reserved for the district judge.
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Dated: September 18, 2020                                  /s/ Sally J. Berens
                                                          SALLY J. BERENS
                                                          U.S. Magistrate Judge

        OBJECTIONS to this Report and Recommendation must be filed with the Clerk of Court

within 14 days of the date of service of this notice. 28 U.S.C. § 636(b)(1)(C). Failure to file

objections within the specified time waives the right to appeal the District Court’s order. See

Thomas v. Arn, 474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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